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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                June 2023 Grand Jury

11   UNITED STATES OF AMERICA,                CR No. 23-00089(A)-DSF

12              Plaintiff,                    F I R S T
                                              S U P E R S E D I N G
13              v.                            I N D I C T M E N T

14   TERREN SCOTT PEIZER,                     [18 U.S.C. § 1348(1): Securities
                                              Fraud; 15 U.S.C. §§ 78j(b), 78ff;
15              Defendant.                    17 C.F.R. § 240.10b-5: Securities
                                              Fraud (Insider Trading); 18 U.S.C.
16                                            § 981(a)(1)(C), 28 U.S.C.
                                              § 2461(c): Criminal Forfeiture]
17

18

19         The Grand Jury charges:
20                                      COUNT ONE
21                           [18 U.S.C. §§ 1348(1), 2(b)]
22   A.    INTRODUCTORY ALLEGATIONS
23         At times relevant to this Indictment:
24         1.    Ontrak, Inc. was a company based in Santa Monica,
25   California, that provided behavioral health services, primarily to
26   members of large health-insurance plans, designed to reduce the
27   insurance companies’ costs.       Shares of Ontrak were publicly traded on
28   the National Association of Securities Dealers Automated Quotations
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 1   Stock Market (“NASDAQ”), a national securities exchange, under the

 2   symbol “OTRK.”     Ontrak was an issuer with securities registered under

 3   Section 12 of the Securities Exchange Act of 1934 (the “Exchange

 4   Act”) and was required to file reports under Section 13 of the

 5   Exchange Act.

 6         2.    Defendant TERREN SCOTT PEIZER was a resident of Puerto Rico

 7   and Santa Monica, California.       Defendant PEIZER was the Executive

 8   Chairman (a management role to which the Chief Executive Officer

 9   (“CEO”) reported) and Chairman of the Board of Directors for Ontrak.

10   Defendant PEIZER founded Ontrak in or around September 2003 and had

11   served as its CEO until in or around April 2021.           By virtue of his

12   relationship with Ontrak, defendant PEIZER had access to material

13   nonpublic information belonging to Ontrak, including Ontrak’s

14   relationship with and retention of customers.          As a member of the

15   Board of Directors, defendant PEIZER was a corporate insider and owed

16   a fiduciary duty and duty of trust and confidence to Ontrak and its

17   shareholders.

18         3.    A stock “warrant” gave the holder the right to purchase a

19   public company’s stock at a specific price.          A stock warrant was

20   issued directly by the company.        When the holder exercised a stock

21   warrant, the shares that fulfilled the obligation came directly from

22   the company.    Once the stock warrant was exercised, the new shares

23   operated identically to any other shares and could be held or sold by

24   the holder.

25         4.    A “Rule 10b5-1 plan” under the Exchange Act allowed a

26   corporate insider of a publicly traded company to set up a trading

27   plan for selling stock that he or she owned.          If the corporate

28   insider followed the requirements of Rule 10b5-1, the trades pursuant

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 1   to the plan were insulated against charges of insider trading.             Rule

 2   10b5-1 required that the corporate insider establishing the plan

 3   could not possess material nonpublic information about the company at

 4   the time he or she entered into the plan; if the insider did have

 5   material nonpublic information at the time he or she entered into the

 6   plan, the plan provided no defense to insider trading charges.

 7   Additionally, trading pursuant to a Rule 10b5-1 plan provided no

 8   defense to insider trading charges if the plan was not entered into

 9   in good faith or was entered into as part of an effort or scheme to

10   evade the prohibitions of Rule 10b5-1.

11         5.    A “cooling-off period” was a specified time period,

12   commonly used in the securities industry, during which an executive

13   waited a certain number of days after establishing a Rule 105b-1 plan

14   to begin trading.     Cooling-off periods were used to ensure that

15   enough time passed between when the executive established a plan and

16   when the plan began to execute trades to minimize the likelihood that

17   the executive was trading on the basis of material nonpublic

18   information.

19         6.    Ontrak had an Insider Trading Policy, which governed

20   defendant PEIZER’s trading in Ontrak’s stock.          The Insider Trading

21   Policy prohibited trading while in possession of material nonpublic

22   information.    The policy defined material nonpublic information as

23   “information that has not been previously disclosed to the general

24   public and is otherwise not available to the general public,” which

25   included negative information concerning Ontrak.           The policy stated

26   that information was material “if there is a reasonable likelihood

27   that it would be considered important to an investor in making an

28   investment decision regarding the purchase or sale of [Ontrak]’s

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 1   securities.”    The policy identified certain “categories of

 2   information that [were] particularly sensitive and, as a general

 3   rule, should always be considered material,” including a “material

 4   agreement (or termination thereof).”        Ontrak’s agreements with

 5   certain customers constituted material agreements.           The policy

 6   required Exchange Act Section 16 officers and directors, such as

 7   defendant PEIZER, to submit Pre-Trading Clearance Certifications to

 8   Ontrak’s Chief Financial Officer (“CFO”) before allowing the officer

 9   or director to trade pursuant to a 10b5-1 plan.          The Pre-Trading

10   Clearance Certification required the officer or director to certify

11   “that this proposed dealing was not a result of access to, or receipt

12   of Material Nonpublic Information as described in the Company’s

13   Insider Trading Policy.”

14         7.    Cigna was a healthcare and insurance company based in

15   Bloomfield, Connecticut.      Cigna provided health insurance and related

16   products and services for millions of Americans.           Beginning by at

17   least in or about July 2020, Ontrak provided services to Cigna’s

18   insured patients under a $90 million contract.          The contract was

19   intended to last for three years, although it allowed Cigna to

20   terminate the contract upon 30 days’ notice.

21   B.    DEFENDANT PEIZER’S ACCESS TO NONPUBLIC INFORMATION REGARDING
22         CIGNA

23         8.    In or around March 2021, defendant PEIZER stepped down as

24   CEO of Ontrak and became the Executive Chairman and Chairman of the

25   Board of Directors.      Despite the change in title, defendant PEIZER

26   continued to receive nonpublic information about Ontrak, including

27   its relationship with customers on a regular basis.

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 1         9.    For example, between in or around March 2021 and in or

 2   around May 2021, defendant PEIZER learned, by virtue of his role as

 3   Ontrak’s Executive Chairman and Chairman of the Board of Directors,

 4   that its then-largest customer, Cigna, had raised numerous issues

 5   concerning its relationship with Ontrak and that Ontrak was in

 6   serious danger of Cigna terminating its agreement with Ontrak, which

 7   was nonpublic information that a reasonable investor would consider

 8   important in deciding whether or not to trade in Ontrak securities.

 9               a.   Specifically, defendant PEIZER knew the following:

10                    i.    In or around February 2021, Cigna began

11   significantly reducing the number of its members that it referred per

12   month to Ontrak for services; by at least in or around May 2021,

13   Cigna had reduced the number of patients that it referred from

14   several thousand members per month to approximately 50 members per

15   month — thereby substantially reducing Ontrak’s potential billings to

16   Cigna;

17                    ii.   Cigna had informed Ontrak, in or around at least

18   April 2021, that its contract with Ontrak would need to be

19   renegotiated (with less favorable terms for Ontrak);

20                    iii. Cigna had determined that its contract with

21   Ontrak did not result in the cost savings it had anticipated;

22                    iv.   Cigna was concerned that Ontrak was spending

23   funds under the current contract with Cigna too quickly; and

24                    v.    Cigna had halted discussions on any potential

25   expansion of Ontrak’s services to Cigna.

26               b.   Defendant PEIZER also knew that the loss of Cigna as a

27   customer would have a material adverse effect on Ontrak.            Indeed, on

28   or about February 28, 2021, Ontrak’s then-largest customer, Aetna,

                                             5
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 1   had provided notice that it was terminating its contract with Ontrak.

 2   On or about March 1, 2021, following Ontrak’s public announcement of

 3   the loss, Ontrak’s stock price dropped nearly 46% in value.            As

 4   Ontrak’s largest shareholder, defendant PEIZER lost approximately

 5   $280 million in the value of his Ontrak securities following the

 6   announcement of Aetna’s termination of its contract with Ontrak.

 7               c.   Defendant PEIZER also knew that, after the loss of

 8   Aetna as a customer, the serious jeopardy facing Ontrak’s

 9   relationship with its next biggest customer, Cigna, would be of

10   particular importance to investors.

11               d.   On or about May 6, 2021, Ontrak filed a Form 10-Q

12   quarterly report with the Securities and Exchange Commission (“SEC”)

13   stating, among other things, that “Our business currently depends

14   upon four large customers; the loss of any one such customers would

15   have a material adverse effect on us.”

16               e.   As Executive Chairman and Chairman of the Board of

17   Directors, defendant PEIZER had direct access to and regular

18   conversations with Ontrak’s CEO, who provided him with regular

19   updates about the status of Ontrak’s negotiations with Cigna.

20               f.   Defendant PEIZER’s communications with Ontrak

21   executives and consultants between in or around March 2021 and in or

22   around May 2021 reflected his knowledge and understanding of the

23   deteriorating relationship between Ontrak and Cigna.           For example:

24                    i.    On or about March 31, 2021, defendant PEIZER

25   described himself as “fixated” on Cigna in a text message to an

26   Ontrak consultant;

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 1                    ii.   On or about April 2 and 14, 2021, defendant

 2   PEIZER wrote in text messages with the same consultant that Ontrak’s

 3   management needed to “save Cigna”;

 4                    iii. On or about April 15, 2021, defendant PEIZER

 5   wrote in a text message to Ontrak’s CEO: “Please just save Cigna ..

 6   then we will get back ‘OnTrak’”;

 7                    iv.   On or about April 24, 2021, in response to an

 8   update on the Ontrak-Cigna relationship, defendant PEIZER wrote that

 9   “This feels eerily like Aetna” and that “Baby is losing his hair from

10   chemo,” which was a reference to Ontrak’s potential loss of Cigna as

11   a customer;

12                    v.    On or about April 30, 2021, in response to

13   another update concerning Cigna, defendant PEIZER wrote in a text

14   message to the consultant, “Doesn’t sound optimistic”; and

15                    vi.   On or about May 1, 2021, defendant PEIZER sent a

16   text message to the consultant concerning the Ontrak-Cigna

17   relationship saying, “What a nightmare.”

18               g.   By at least on or about May 4, 2021, defendant PEIZER

19   was well aware that Cigna had expressed serious concerns about

20   maintaining its contract with Ontrak and that a meeting with Cigna’s

21   Chief Medical Officer – who was managing the Ontrak-Cigna

22   relationship on Cigna’s side – had been scheduled for May 18, 2021,

23   to discuss the status of the relationship.

24               h.     On or about May 18, 2021, during the meeting with

25   Cigna, Cigna informed Ontrak of its intent to terminate their

26   contract by the end of the year.

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 1   C.    THE INSIDER TRADING SCHEME

 2         10.   Beginning on an unknown date but no later than in or around

 3   May 2021, and continuing through in or around August 2021, in Los

 4   Angeles County, within the Central District of California, and

 5   elsewhere, defendant PEIZER, together with others known and unknown

 6   to the Grand Jury, knowingly and with intent to defraud, devised,

 7   participated in, and executed a scheme to defraud a person in

 8   connection with the securities of Ontrak.

 9         11.   The fraudulent scheme operated, in substance, as follows:

10
           Defendant PEIZER Entered into a Rule 10b5-1 Plan in May 2021 and
11         Sold his Ontrak Securities Based on Inside Information that
           Ontrak was at Serious Risk of Losing its Contract with Cigna
12

13               a.   On or about May 4, 2021, in advance of Ontrak’s May

14   18, 2021, meeting with Cigna, defendant PEIZER contacted Broker A to

15   set up a Rule 10b5-1 plan in order to sell shares of Ontrak valued at

16   approximately $19 million.

17               b.   According to publicly available SEC filings, defendant

18   PEIZER had previously only sold his Ontrak shares twice since 2003:

19   once in 2008 for approximately $220,000; and once in 2011 for

20   approximately $118,000.

21               c.   After defendant PEIZER contacted Broker A to set up a

22   10b5-1 plan, he was informed that Broker A required the 10b5-1 plan

23   to have a cooling-off period.       After learning that Broker A required

24   a cooling-off period, defendant PEIZER declined to set up a 10b5-1

25   plan with Broker A and instead, that same day, contacted another

26   brokerage company, Broker B, to discuss setting up a 10b5-1 plan with

27   Broker B.

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 1               d.   Although Broker B did not require a cooling-off

 2   period, Broker B warned defendant PEIZER in an e-mail that not

 3   following the industry best practice of a 30-day cooling-off period,

 4   together with the “rapid transaction executions subsequent to plan

 5   adoption” might “create an appearance of impropriety and call into

 6   question whether a plan adopter had MNPI [material non-public

 7   information] at the time of plan adoption.”          In response, defendant

 8   PEIZER insisted that the plan not have a cooling-off period and

 9   instead that he be allowed to start selling his shares as soon as

10   possible.

11               e.   To obtain approval of the 10b5-1 plan, defendant

12   PEIZER falsely certified to Ontrak’s CFO that “this proposed dealing

13   was not a result of access to, or receipt of Material Nonpublic

14   Information as described in the Company's Insider Trading Policy”

15   when, as defendant PEIZER then knew, he possessed material nonpublic

16   information, to wit, Ontrak’s endangered relationship with Cigna and

17   the serious risk that Cigna would terminate its contract with Ontrak.

18               f.   On or about May 10, 2021, eight days before Cigna

19   informed Ontrak of its intent to terminate the contract by the end of

20   the year, defendant PEIZER entered into a Rule 10b5-1 plan (the “May

21   Trading Plan”) through Broker B.        The May Trading Plan was in the

22   name of Acuitas Group Holdings, an investment company wholly owned by

23   defendant PEIZER and used by defendant PEIZER to hold his ownership

24   interests in numerous companies, including his Ontrak shares.             As

25   part of the May Trading Plan, defendant PEIZER falsely certified to

26   Broker B that he was not in possession of material nonpublic

27   information when, as defendant PEIZER then knew, he did possess

28   material nonpublic information regarding the serious risk that Cigna

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 1   would terminate its contract with Ontrak.          Despite the cautionary

 2   advice by Broker B to implement a cooling-off period between the

 3   establishment of the May Trading Plan and the sale of defendant

 4   PEIZER’s Ontrak shares, defendant PEIZER directed Broker B to begin

 5   selling his Ontrak shares the next day.

 6               g.    The May Trading Plan was attached as an exhibit to an

 7   amended Schedule 13D filed with the SEC by Acuitas Group Holdings and

 8   signed by defendant PEIZER on or about May 11, 2021.

 9               h.    Pursuant to the May Trading Plan, defendant PEIZER

10   exercised approximately 686,000 Ontrak stock warrants on a cashless

11   basis, resulting in his acquisition of approximately 585,000 shares.

12   Thereafter, defendant PEIZER began selling these shares on or about

13   May 11, 2021.

14               i.    On or about May 18, 2021, Cigna notified Ontrak of its

15   intent to terminate its contract with Ontrak by the end of the year.

16   That same day, Ontrak’s CEO notified defendant PEIZER of this

17   information.     This information was not publicly disclosed.

18               j.    Defendant PEIZER continued to sell his Ontrak shares

19   pursuant to the May Trading Plan until on or about July 20, 2021.                In

20   total, the sales from on or about May 11, 2021, to on or about July

21   20, 2021, resulted in approximately $18,906,000 in proceeds.

22
           Defendant PEIZER Entered into a Second Rule 10b5-1 Plan in
23         August 2021 and Sold Additional Securities Based on Inside
           Information About Ontrak’s Impending Loss of Cigna as a Customer
24

25               k.    Between in or around May 2021, and in and around

26   August 2021, defendant PEIZER continued to receive information that

27   Cigna was ending its relationship with Ontrak, which was nonpublic

28   information that a reasonable investor would find to be material.

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 1               l.    For example, on or about July 15, 2021, an Ontrak

 2   consultant sent a text message to defendant PEIZER that Cigna was

 3   “really throttling members being sent to us.          It’s a trickle at this

 4   point.”    As another example, on or about August 13, 2021, defendant

 5   PEIZER called Ontrak’s Senior Vice President and General Manager of

 6   Customer Strategy and Solutions, who was leading the contract

 7   renegotiations with Cigna, to find out about the likelihood of Ontrak

 8   retaining Cigna as a customer.        On that call, the employee informed

 9   defendant PEIZER that he believed Cigna was likely to formally

10   terminate its relationship with Ontrak.

11               m.    That same day, on or about August 13, 2021,

12   approximately one hour after his call with the Ontrak employee

13   informing defendant PEIZER that the employee believed Cigna was

14   likely to end its relationship with Ontrak, defendant PEIZER entered

15   into a second Rule 10b5-1 plan (the “August Trading Plan”) to further

16   sell his Ontrak shares.

17               n.    Prior to implementing the August Trading Plan,

18   defendant PEIZER falsely certified to Ontrak’s CFO, pursuant to

19   Ontrak’s Insider Trading Policy, that “this proposed dealing was not

20   a result of access to, or receipt of Material Nonpublic Information

21   as described in the Company’s Insider Trading Policy” when, as

22   defendant PEIZER then knew, he possessed material nonpublic

23   information including, among other things:

24                     i.    Cigna’s prior notification to Ontrak on May 18,

25   2021, of its intention to terminate its contract with Ontrak by the

26   end of the year;

27                     ii.   Cigna’s continued reduction in the number of

28   members sent to Ontrak;

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 1                     iii. Cigna’s disinterest in renegotiating the terms of

 2   any contract with Ontrak;

 3                     iv.   That certain Ontrak executives, including its

 4   lead negotiator with Cigna, held the view that Cigna would formally

 5   terminate its contract with Ontrak;

 6                     v.    That a meeting was scheduled with Cigna personnel

 7   for August 18, 2021 concerning Ontrak’s attempts at salvaging the

 8   relationship; and

 9                     vi.   That the material nonpublic information that he

10   possessed in advance of entering into the May Trading Plan remained

11   undisclosed to the public.

12               o.    On or about August 13, 2021, defendant PEIZER, through

13   Acuitas Group Holdings, entered into the August Trading Plan through

14   Broker B.    As he had done in connection with the May Trading Plan,

15   defendant PEIZER again falsely certified to Broker B that he was not

16   in possession of material nonpublic information when, as defendant

17   PEIZER then knew, he did possess material nonpublic information

18   including the facts listed in the preceding subparagraph.             Like the

19   May Trading Plan, the August Trading Plan did not implement a

20   cooling-off period.      Defendant PEIZER began selling Ontrak shares the

21   next trading day after the plan was implemented and increased the

22   daily number of shares sold pursuant to his plan to 15,000 per day

23   from 11,000 shares per day under the May Trading Plan.

24               p.    The August Trading Plan was attached as an exhibit to

25   an amended Schedule 13D filed with the SEC by Acuitas Group Holdings

26   and signed by defendant PEIZER on or about August 16, 2021.

27               q.    Prior to Ontrak’s public announcement that Cigna had

28   terminated its contract with Ontrak, defendant PEIZER sold

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 1   approximately 45,000 Ontrak shares over the course of three trading

 2   days, from on or about August 16 to on or about August 18, 2021,

 3   resulting in approximately $900,000 in proceeds.

 4               r.    On or about August 18, 2021, during the scheduled call

 5   that defendant PEIZER was aware of at the time he entered in the

 6   August Trading Plan, Cigna formally notified Ontrak that it would

 7   terminate its contract with Ontrak.          On or about August 19, 2021,

 8   Ontrak filed a Form 8-K with the SEC disclosing for the first time

 9   the termination of its relationship with Cigna.           Following the

10   announcement, Ontrak’s stock price fell approximately 44%.

11         Defendant PEIZER Avoided Approximately $12.5 Million in Losses
12         through Insider Trading

13         12.   Based on the May Trading Plan that defendant PEIZER adopted

14   while he possessed material nonpublic information, defendant PEIZER’s

15   stock sales on the basis of material nonpublic information, and the

16   decrease in the price of Ontrak shares following the public

17   disclosure of this information, defendant PEIZER avoided

18   approximately $12,069,000 in losses from the exercise of his Ontrak

19   warrants and sale of the resulting Ontrak shares pursuant to the May

20   Trading Plan.

21         13.   Based on the August Trading Plan that defendant PEIZER

22   adopted while he possessed material nonpublic information, defendant

23   PEIZER’s stock sales on the basis of material nonpublic information,

24   and the decrease in the price of Ontrak shares following the public

25   disclosure of this information, defendant PEIZER avoided

26   approximately $463,000 in losses from the exercise of his Ontrak

27   warrants and sale of the resulting Ontrak shares pursuant to the

28   August Trading Plan.

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 1   D.    EXECUTIONS OF THE INSIDER TRADING SCHEME

 2         14.   From on or about at least May 4, 2021, through at least on

 3   or about August 19, 2021, defendant PEIZER, in the Central District

 4   of California, and elsewhere, for the purpose of executing the

 5   aforesaid scheme and artifice to defraud, made, and caused to be

 6   made, false and misleading representations to Ontrak’s shareholders

 7   and the investing public about defendant PEIZER’s possession of

 8   material nonpublic information about Ontrak’s relationship with its

 9   largest customer, Cigna, through the execution of -- and filing of,

10   with the SEC, as attachments to Schedules 13D -- the May Trading Plan

11   and the August Trading Plan.

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 1                                   COUNTS TWO AND THREE

 2    [15 U.S.C. §§ 78j(b), 78ff; 17 C.F.R. § 240.10b-5; 18 U.S.C. § 2(b)]

 3          15.     The Grand Jury re-alleges paragraphs 1 through 9 and 11

 4   through 13 of this Indictment here.

 5          16.     On or about the dates set forth below, in Los Angeles

 6   County, within the Central District of California, and elsewhere,

 7   defendant PEIZER, knowingly and willfully, directly and indirectly,

 8   by the use of the means and instrumentalities of interstate commerce

 9   and of the facilities of national securities exchanges, in connection

10   with the sale of Ontrak securities, used and employed a device,

11   scheme, and artifice to defraud members of the investing public and

12   engaged in acts, practices, and a course of business that operated

13   and would operate as a fraud and deceit upon a person, in that

14   defendant PEIZER executed and willfully caused to be executed the

15   securities transactions listed below on the basis of material

16   nonpublic information that he used in breach of a duty of trust and

17   confidence that he owed directly and indirectly to the issuer of

18   those securities and to the shareholders of the issuer:

19

20          COUNT             DATE                 SECURITIES TRANSACTION
21    TWO                05/11/2021        Sale of 11,000 Ontrak shares at an
                                           average price of approximately $30.52
22                                         per share pursuant to the May Trading
                                           Plan for a total price of
23                                         approximately $336,190.80.
24    THREE              08/16/2021        Sale of 15,000 Ontrak shares at an
                                           average price of approximately $23.36
25                                         per share pursuant to the August
                                           Trading Plan for a total price of
26                                         approximately $348,144.00.
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 1                                FORFEITURE ALLEGATION

 2               [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3         17.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C), and Title 28, United States

 7   Code, Section 2461(c), in the event of the defendant TERREN SCOTT

 8   PEIZER’s conviction of the offenses set forth in any of Counts One

 9   through Three of this Indictment.

10         18.   Defendant PEIZER, if so convicted, shall forfeit to the

11   United States of America the following:

12               (a)   All right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to the offenses; and

15               (b)   To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18         19.   Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 28, United States Code, Section 2461(c),

20   defendant PEIZER, if so convicted, shall forfeit substitute property,

21   up to the value of the property described in the preceding paragraph

22   if, as the result of any act or omission of defendant PEIZER, the

23   property described in the preceding paragraph or any portion thereof

24   (a) cannot be located upon the exercise of due diligence; (b) has

25   been transferred to, sold to, or deposited with a third party;

26   (c) has been placed beyond the jurisdiction of the court; (d) has

27   //

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 1   been substantially diminished in value; or (e) has been commingled

 2   with other property that cannot be divided without difficulty.

 3

 4                                                A TRUE BILL
 5

 6                                                        V
                                                  Foreperson
 7

 8    E. MARTIN ESTRADA                           GLENN S. LEON
      United States Attorney                      Chief, Fraud Section
 9                                                Criminal Division
                                                  U.S. Department of Justice
10
                                                  MATTHEW REILLY
11    MACK E. JENKINS                             Trial Attorney
      Assistant United States Attorney            Fraud Section
12    Chief, Criminal Division                    Criminal Division
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13    BRETT A. SAGEL
      Assistant United States Attorney
14    Chief, Corporate & Securities Fraud
      Strike Force
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16    Assistant United States Attorney
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17    Securities Fraud Strike Force
18    ALI MOGHADDAS
      Assistant United States Attorney
19    Corporate & Securities Fraud
      Strike Force
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